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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

  SANDOZ INC. and RAREGEN, LLC,          )
                                         )
                     Plaintiffs,         )
                                         )   Civil Action No. 3:19-cv-10170
              v.                         )   (BRM) (LHG)
                                         )
  UNITED THERAPEUTICS                    )    ELECTRONICALLY FILED
  CORPORATION and SMITHS                 )
  MEDICAL ASD, INC.,                     )   CONTAINS INFORMATION
                                         )   DESIGNATED AS HIGHLY
                     Defendants.         )   CONFIDENTIAL
                                         )


       DEFENDANTS’ POST-HEARING BRIEF IN OPPOSITION TO
       PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION



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 I.       Plaintiffs Have Not Shown Irreparable Harm.
          Plaintiffs present no “clear showing of immediate irreparable injury” to their

 reputations. ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987). There

 is no evidence—just self-serving speculation—that doctors, insurers, patients, or

 pharmacies “may believe there is a problem,” deGoa Aff. ¶ 39, are “skeptical” of

 generic treprostinil, Hr’g Tr. (“Tr.”) 7:21, or may “[a]t some point . . . give up on

 the generic,” id. 11:13–15. Plaintiffs can point to no evidence in the record that

 supports their statements about reputational harm. Even if evidence existed, any

 reputational harm would be compensable by money. Instant Air Freight, Co. v.

 C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir. 1989); Mon Cheri Bridals, LLC

 v. Bowls, 2015 WL 1383948, at *5 (D.N.J. 2015). Either failing dooms their

 motion for an injunction, as do other flaws:

      •   An injunction would neither cure Plaintiffs’ claimed reputational harm,

 Instant Air Freight, 882 F.2d at 801, which Plaintiffs admit “will persist even if the

 cartridge restrictions go away,” deGoa Aff. ¶ 40, nor restore the 180-day

 exclusivity period that they admit “has expired,” Tr. 15:8–9.

      •   If there were harm, it would not be “immediate,” Acierno v. New Castle

 Cty., 40 F.3d 645, 654 (3d Cir. 1994), because it would have occurred nine months

 ago when Plaintiffs chose to launch to reap short-term gains, Ex. 813, with full

 knowledge of the effects they now claim as damages, e.g., Ex. 512.
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   •   Plaintiffs’ self-inflicted harms cannot support an injunction. Ride the Ducks

 of Phila., LLC v. Duck Boat Tours, Inc., 138 F. App’x 431, 434 (3d Cir. 2005);

 Mylan Inc. v. SmithKline Beecham Corp., 2010 WL 4181139, at *4 (D.N.J. 2010).

 II.   Plaintiffs’ Antitrust Claims Are Meritless.
       A.     Plaintiffs Cannot Deny the Existence of Reasonable Alternatives.
       The evidence is unrebutted that Plaintiffs failed to avail themselves of

 “reasonably available alternatives,” and were not foreclosed from any market or

 deprived of an opportunity to compete. Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821

 F.3d 394, 406 (3d Cir. 2016); Omega Envt’l, Inc. v. Gilbarco, Inc., 127 F.3d 1157,

 1163 (9th Cir. 1997). Sandoz knew it needed cartridges since 2011, Ex. 1068,

 given “how important the cartridges are” to subcutaneous delivery. Tr. 18:8–9.

 Sandoz learned in 2016 that the CADD-MS 3 was discontinued, Ex. 5, a “publicly

 known” fact. Jeffs Dep. 102:12–23, 261:25. Contrary to Plaintiffs’ misstatement

 that Smiths’ 2015 end-of-life notice “did not relate to cartridges,” Tr. 48:1–2, that

 notice in fact announced that cartridges would be discontinued as early as 2018.

 Ex. 1082, at 5. In 2017, Sandoz tried but could not find just two cartridges for

 testing. Ex. 20. An “equally efficient competitor” who learns a needed device is

 discontinued must help itself—approach a manufacturer, invest “a significant

 amount of time and resources,” Eisai, 821 F.3d at 406, and pursue an “existing or

 potential alternative” solution, Omega, 127 F.3d at 1163. Plaintiffs did nothing.


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 less a purchase order or contract, that Accredo could or would supply devices for

 subcutaneous treprostinil. The two emails Plaintiffs cite do not even reference

 subcutaneous delivery, nor do they mention cartridges or any supply commitment.

 A 2017 notation that Accredo would provide “pump & other kit accessories,”

 Ex. 906, cannot have provided the comfort Plaintiffs now claim: Sandoz suspended

 investment in the product after that email because of “issues with pump,” Ex. 824,

 Ex. 1065, Ex. 379. Confronted with their self-inflicted lack of a device, Ex. 1069,

 Sandoz employees confessed their lack of diligence. Ex. 605, Ex. 606, Ex. 607.

       Yet Plaintiffs ask the Court to upend the status quo and force UTC to give

 them the cartridges it secured by foresight, investment, and risk assumption.

       B.     Defendants’ Agreements Are Procompetitive.

       No cartridges would have existed after 2018 without UTC’s funding, Stamp

 Decl. ¶ 25, because Smiths stopped making them for business reasons, id. ¶ 7,

 Quinn Decl. ¶¶ 6–9, 15. Defendants’ agreements added output, deterred free-

 riding, and ensured supply. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2289

 (2018); Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 76 (3d

 Cir. 2010). Plaintiffs do not rebut these facts.

       UTC made “‘possible the very activity that is allegedly restrained’” by

 funding the manufacture of devices Smiths otherwise would have stopped making.

 Gemini Concerts, Inc. v. Triple-A Baseball Club Assocs., 664 F. Supp. 24, 27 (D.


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 Me. 1987). Unable to contest that fact, Plaintiffs argue that cartridges were created

 without exclusivity in mind, and that Defendants only restricted access to

 cartridges in 2019, when Plaintiffs hoped to launch. That is refuted by the 2016

 agreement’s purpose to “[r]estrict sales of 3ml cartridge to US/CAN Remodulin

 patients to extend supply,” Ex. 264, and its text, which restricted pumps and

 cartridges (“Product”) “to ensure supply is available for use in connection with

 Remodulin,” and granted UTC a right of first refusal that would be meaningless

 otherwise. Ex. 67. The parties knew at the time that the effect was cartridge

 “exclusivity,” Ex. 69, with a “Remodulin-only” restriction, Ex. 462. Later

 amendments and agreements “stem from this original agreement” and its

 “restrictive covenants,” Rao Dep. 32:14–25, and Smiths agreed to secure pharmacy

 contracts to restrict cartridges to Remodulin patients. Ex. 202, Rhodes Decl. ¶ 11.

       When UTC learned in 2018 that contracts were not in place, it stepped up its

 monitoring of cartridge allocation, agreed to take responsibility for cartridges and

 contract directly with the pharmacies, and approved every request it received, id.

 ¶¶ 17–23, Gray Decl. ¶¶ 7–8, so no patient missed a single dose of medicine.

 Tr. 20:19–20. Plaintiffs cannot “isolate” those acts from the rest of the transaction,

 Meijer v. Barr Pharm., 572 F. Supp. 2d 38, 49 (D.C. Cir. 2008), assess only “the

 aftermath,” Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185, 189 (7th Cir.

 1985), and disregard Defendants’ “conduct, as a whole,” Eisai, 821 F.3d at 407.

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 Respectfully submitted,

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